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  September 15, 2022

  VIA ECF
  Honorable Gary Brown
  United States District Judge
  Eastern District of New York
  100 Federal Plaza
  Central Islip, NY 11722

           Re: United States of America v. John Drago, 18-CR-394-GRB-AYS-1

  Dear Judge Brown:

          We represent John Drago, who is scheduled to be sentenced by Your Honor on October
  21, 2022. We respectfully request that the Court adjourn the sentencing to Friday, February 24,
  2023, if that date is convenient to the Court, for the reasons stated below. We have consulted with
  the Government regarding this request; the Government opposes any further adjournment of
  sentencing.

          The terms of Mr. Drago’s plea agreement require him to make a forfeiture payment to the
  Government in the amount of $253,191.00 30-days prior to the date of sentencing. In prior requests
  for an adjournment of the sentencing date, dated December 2, 2021, February 18, 2022, and June
  1, 2022, we reported that Mr. Drago was trying to sell a family home and that he intended to use
  the sale proceeds to satisfy the forfeiture requirement contained in the plea agreement. The
  Government did not object to the prior requests. Following Mr. Drago’s June 1, 2022 request, the
  Court agreed to adjourn sentencing until October 21, 2022.

          Mr. Drago continues to have difficulties selling the property, largely stemming from buyer
  and broker concern about Mr. Drago’s status in this matter. Despite the fact the Government has
  not filed a lis pendens or otherwise encumbered the property, buyers are concerned about whether
  they will be able to take clean title. In July 2022, a deal to sell the house fell apart for this reason
  and, on September 2, 2022, a real estate broker – Sotheby’s – stopped working with Mr. Drago
  due to similar concerns.

           Mr. Drago’s efforts to sell the house continue in earnest. On September 3, 2022, the day
  after Sotheby’s informed Mr. Drago that it would not work with him, Mr. Drago engaged Berkshire
  Hathaway to sell the house. Berkshire Hathaway listed the house for sale on September 12, 2022;
  at the time of this writing the listing had been viewed 372 times.1


  1
    https://www.redfin.com/NY/SAINT-JAMES/10-MUFFINS-MDWS-11780/home/20991322 (last viewed at 1:50
  p.m., September 15, 2022). A showing of the house was scheduled for today.
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          Mr. Drago also has a current offer on the house, dating from June 2022, that will expire by
  the year’s end. Mr. Drago did not accept the offer because the buyer sought a November 2022
  closing date (i.e., after the October 21, 2022 sentencing date) and the offer was made contingent
  on the buyer’s ability to sell their current home.

           We submit respectfully that Mr. Drago has been diligently trying to sell the property and
  raise the required funds to satisfy his forfeiture obligations. He also has complied completely with
  his bail conditions and cannot be said to represent a flight risk. Under the circumstances, we request
  respectfully that the Court adjourn sentencing to February 24, 2023. If additional facts are required
  regarding Mr. Drago’s attempts to sell the property, Mr. Drago is available to provide them to the
  Court.

         Thank you for your attention to this matter.

                                                        Respectfully Submitted,




                                                        Arthur D. Middlemiss


  cc: AUSA Bradley King (via ECF)
